                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )       NO. 3:12-00219
                                             )       Judge Sharp
COREY LEE SMITH [5]                          )

                                            ORDER

       For the reasons stated on the record at the evidentiary hearing on June 27, 2014, Defendant’s

Motion to Suppress (Docket No. 206) is DENIED. Further, in light of Defendant’s Notice of Intent

to Plead Guilty (Docket No. 254), his (1) Motion to Sever (Docket No. 205); (2) Motion for Bill of

Particulars (Docket No. 240); and (3) Motions In Limine (Docket Nos. 236-239) are DENIED AS

MOOT.

       A hearing on a plea of guilty in this matter is hereby scheduled for Monday, July 7, 2014,

at 4:00 p.m.

       It is SO ORDERED.



                                                     ____________________________________
                                                     KEVIN H. SHARP
                                                     UNITED STATES DISTRICT JUDGE




 Case 3:12-cr-00219        Document 255          Filed 07/01/14    Page 1 of 1 PageID #: 556
